                Case 3:19-cv-06169-BHS Document 23 Filed 10/21/20 Page 1 of 2




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 4
                            UNITED STATES DISTRICT COURT
 5                         WESTERN DISTRICT OF WASHINGTON
                                     AT TACOMA
 6
     BRIAN JUDAH MICHALEK,                           CASE NO. 3:19-CV-06169-BHS
 7
                             Petitioner,             ORDER ADOPTING REPORT
 8         v.                                        AND RECOMMENDATION

 9   JEFFERSON COUNTY JAIL,

10                           Respondent.

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12         This matter comes before the Court on the Report and Recommendation (“R&R”)

13   of the Honorable J. Richard Creatura, United States Magistrate Judge. Dkt. 19.

14         On August 13, 2020, Judge Creatura issued the R&R recommending dismissal of

15   the Petition filed by petitioner Brian Judah Michalek (“Michalek”). Dkt. 19. On August

16   31, 2020, Michalek filed a request for a 30-day extension, which the Court construed as a

17   motion to extend the deadline for filing objections to the R&R. Dkt. 20. On September 9,

18   2020, the Court granted Michalek’s request and extended the deadline for filing

19   objections, and the noting date of the R&R, to October 9, 2020. Michalek has not filed

20   any objections.

21         The Court having considered the R&R and the remaining record, and no

22   objections having been filed, does hereby find and order as follows:


     ORDER - 1
             Case 3:19-cv-06169-BHS Document 23 Filed 10/21/20 Page 2 of 2




 1         (1)   The R&R is ADOPTED;

 2         (2)   Petitioner’s petition for habeas corpus (Dkt. 10) is DISMISSED without

 3               prejudice as duplicative of the petition filed under cause number C19-6023

 4               BHS-DWC;

 5         (3)   For purposes of any appeal, petitioner’s in forma pauperis status is

 6               revoked. A certificate of appealability is DENIED; and

 7         (4)   This case is closed.

 8         Dated this 21st day of October, 2020.

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                                                    BENJAMIN H. SETTLE
                                                    United States District Judge
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     ORDER - 2
